Case 08-14631-GMB         Doc 504    Filed 07/09/08 Entered 07/09/08 12:26:01        Desc Main
                                    Document     Page 1 of 6



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                        ATTORNEY FEE APPLICATION COVER SHEET

  IN RE:                                          APPLICANT:
                                                  Cole, Schotz, Meisel,
  SHAPES/ARCH HOLDINGS L.L.C., et al.             Forman & Leonard, P.A.

  CASE NO.: 08-14631 (GMB)                        CLIENT: Official Committee of Unsecured
                                                  Creditors

  CHAPTER: 11                                     CASES FILED: March 16, 2008

               COMPLETION OF THIS FORM CONSTITUTES A CERTIFICATION
              UNDER PENALTY OF PERJURY. RETENTION ORDER ATTACHED.



                                                         /s/ Michael D. Sirota       7/9/08
                                                     MICHAEL D. SIROTA                Date

                                         SECTION I
                                       FEE SUMMARY

 Third Monthly Fee Statement Covering the Period
 June 1, 2008 through June 30, 2008

 Total Previous Fees and Expenses Requested:                                      $347,992.75
 Total Fees and Expenses Allowed to Date:                                               $0.00
 Total Retainer (if applicable):                                                         N/A
 Total Holdback (if applicable):                                                  $ 66,658.90
 Total Received by Applicant:                                                     $219,252.40



         Name of Professional           Year
               and Title               Admitted        Hours         Rate           Fee
  1.      Ilana Volkov,                 1991           18.30        450.00         $8,235.00
          Member
  2.      Jordan A. Fisch,               1995           0.60        450.00            270.00
          Member
  3.      Catherine E. Bostock,          1994           1.00        360.00            360.00
          Member
  4.      Sheryll S. Tahiri,             1999           3.60        325.00           1,170.00
          Associate



 45765/0001-1527714v3
Case 08-14631-GMB       Doc 504    Filed 07/09/08 Entered 07/09/08 12:26:01     Desc Main
                                  Document     Page 2 of 6



         Name of Professional         Year
              and Title              Admitted       Hours      Rate            Fee
  5.      Jeremy E. Bob,              2004          0.30      250.00                 75.00
          Associate
  6.      Daniel S. Zavodnick,         2007          2.00     195.00             390.00
          Associate
  7.      Frances Pisano,              N/A           0.40     215.00                 86.00
          Paralegal
  8.      Cynthia Braden,              N/A          14.70     165.00            2,425.50
          Paralegal
          TOTALS                                    40.90                     $13,011.50

 FEE TOTALS (Page 3)                                                           $13,011.50
 DISBURSEMENTS TOTALS (Page 4)                                                    $770.02
 TOTAL FEE APPLICATION                                                         $13,781.52




                                                2
 45765/0001-1527714v3
Case 08-14631-GMB       Doc 504    Filed 07/09/08 Entered 07/09/08 12:26:01     Desc Main
                                  Document     Page 3 of 6




                                    SECTION II
                                SUMMARY OF SERVICES

                       Services Rendered                     Hours            Fee
  (a) Telephone Calls                                          1.20             $340.50
  (b) Correspondence Drafted                                   7.10            1,923.00
  (c) Correspondence Reviewed                                 16.60            6,645.50
  (d) Legal Research                                           0.00                0.00
  (e) Court Appearance                                         0.00                0.00
  (f) Preparation of Pleadings and Briefs                      4.10              824.50
  (g) Internal Office Meetings:
      (1)   solely w/applicant’s staff                          2.10              653.50
      (2)   third party conferences                             1.70              765.00
  (h) Out of Office Meetings                                    0.00                0.00
  (i) Review of File                                            2.20              363.00
  (j) Travel Time                                               0.00                0.00
  (k) Prepare for Court Appearance                              0.00                0.00
  (l) Preparation of Fee Application                            5.90            1,496.50
  SERVICES TOTALS                                              40.90          $13,011.50




                                             3
 45765/0001-1527714v3
Case 08-14631-GMB       Doc 504    Filed 07/09/08 Entered 07/09/08 12:26:01    Desc Main
                                  Document     Page 4 of 6




                                  SECTION III
                            SUMMARY OF DISBURSEMENTS

  Disbursements                                                               Amount
  (a) Telephone                                                                $115.86
  (b) Photocopying:
         No. of Pages: 2,223 Rate per Page: $.20                                 444.60
  (c) Travel (attach details - U.S. Govt. Rate)                                    0.00
  (d) Postage                                                                    133.72
  (e) Other (explain):
         Copy of Official Documents                                               75.84
  DISBURSEMENT TOTAL                                                            $770.02




                                              4
 45765/0001-1527714v3
Case 08-14631-GMB           Doc 504     Filed 07/09/08 Entered 07/09/08 12:26:01              Desc Main
                                       Document     Page 5 of 6




                                             SECTION IV
                                            CASE HISTORY

 (NOTE: Items (3) through (6) are not applicable to applications under 11 U.S.C. § 506)

 (1)      Date cases filed: March 16, 2008

 (2)      Chapter under which cases commenced: Chapter 11

 (3)      Date of retention: Order signed April 25, 2008, effective March 31, 2008
          (Annex copy of order(s).) See Exhibit A.
          If limit on number of hours or other limitations to retention, set forth: N/A

 (4)      Summarize in brief the benefits to the estate and attach supplements as needed:

          (a)      Finalized investigation into the extent, validity and priority of the alleged secured
                   claim of The CIT Group/Business Credit, Inc., as agent for itself and for JP
                   Morgan Chase Bank, N.A. and Textron Financial Corporation;

          (b)      Reviewed, commented on and engaged in negotiations with counsel for the
                   Debtors and Arch Acquisition I, LLC (“Arch”) regarding the Asset Purchase
                   Agreement between the Debtors and Arch (the “APA”), as well as the related sale
                   motion and bidding procedures;

          (c)      Reviewed and preliminarily analyzed the impact of the Industrial Site Recovery
                   Act on a sale of substantially all the Debtors’ assets pursuant to the APA;

          (d)      Reviewed claims objections filed by the Debtors;

          (e)      Reviewed objections filed to confirmation of the Debtors’ Third Amended Joint
                   Plan of Reorganization (the “Plan”); and

          (f)      Attended various conference calls and engaged in various e-mail communications
                   regarding the continued administration and progress of the Debtors’ cases.

          INVOICES ITEMIZING SERVICES RENDERED AND OUT-OF-POCKET
          EXPENSES INCURRED ARE ATTACHED AS EXHIBITS “B” AND “C”,
          RESPECTIVELY.

 (5)      Anticipated distribution to creditors:

          (a)      Administration expenses: Per Plan

          (b)      Secured creditors: Per Plan

          (c)      Priority creditors: Per Plan


                                                     5
 45765/0001-1527714v3
Case 08-14631-GMB           Doc 504    Filed 07/09/08 Entered 07/09/08 12:26:01         Desc Main
                                      Document     Page 6 of 6



          (d)      General unsecured creditors: Per Plan

 (6)      Final disposition of cases and percentage of dividend paid to creditors (if applicable):
          The Court has approved the Debtors’ Joint Disclosure Statement for the Debtors’ Third
          Amended Joint Plan of Reorganization and has fixed July 15, 2008, as the hearing on
          confirmation of the Plan. Although the bar date for general unsecured claims has passed,
          the final dividend percentage to general unsecured creditors is unknown at this time
          because the Debtors’ motions objecting to claims have not been resolved.




                                                   6
 45765/0001-1527714v3
